ILND 44 (Rev. 04/13/16)    Case: 1:18-cv-07014 Document #: 2 Filed:SHEET
                                                CIVIL COVER         10/18/18 Page 1 of 2 PageID #:19
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                         DEFENDANTS



    (b) County of Residence of First Listed Plaintiff                                                     County of Residence of First Listed Defendant
                                 (EXCEPT IN U.S. PLAINTIFF CASES)                                                                      (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                          NOTE:                      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                     THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)




II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                  III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                            and One Box for Defendant)
   1    U.S. Government
          Plaintiff
                                    ■3    Federal Question
                                            (U.S. Government Not a Party)                       Citizen of This State
                                                                                                                               PTF
                                                                                                                                  1
                                                                                                                                            DEF
                                                                                                                                                  1    Incorporated or Principal Place
                                                                                                                                                                                           PTF
                                                                                                                                                                                                4
                                                                                                                                                                                                     DEF
                                                                                                                                                                                                       4
                                                                                                                                                         of Business In This State

   2    U.S. Government                4 Diversity                                              Citizen of Another State              2           2    Incorporated and Principal Place         5      5
          Defendant                       (Indicate Citizenship of Parties in Item III)                                                                   of Business In Another State

                                                                                                Citizen or Subject of a               3           3    Foreign Nation                           6      6
                                                                                                  Foreign Country
IV. NATURE OF SUIT                    (Place an “X” in One Box Only)
            CONTRACT                                          TORTS                                FORFEITURE/PENALTY                          BANKRUPTCY                       OTHER STATUTES
   110 Insurance                       PERSONAL INJURY                 PERSONAL INJURY             625 Drug Related Seizure                422 Appeal 28 USC 158              375 False Claims Act
   120 Marine                           310 Airplane                   365 Personal Injury -           of Property 21 USC 881              423 Withdrawal                     376 Qui Tam (31 USC
   130 Miller Act                       315 Airplane Product               Product Liability       690 Other                                   28 USC 157                         3729 (a))
   140 Negotiable Instrument                 Liability                 367 Health Care/                                                                                       400 State Reapportionment
   150 Recovery of Overpayment          320 Assault, Libel &               Pharmaceutical                                                  PROPERTY RIGHTS                    410 Antitrust
       & Enforcement of Judgment             Slander                       Personal Injury                                                 820 Copyrights                     430 Banks and Banking
   151 Medicare Act                     330 Federal Employers’             Product Liability                                               830 Patent                         450 Commerce
   152 Recovery of Defaulted
       Student Loans
                                             Liability
                                        340 Marine
                                                                       368 Asbestos Personal
                                                                           Injury Product
                                                                                                                                     ■     840 Trademark                      460 Deportation
                                                                                                                                                                              470 Racketeer Influenced and
       (Excludes Veterans)              345 Marine Product                 Liability                         LABOR                         SOCIAL SECURITY                        Corrupt Organizations
   153 Recovery of                           Liability                PERSONAL PROPERTY            710 Fair Labor Standards                861 HIA (1395ff)                   480 Consumer Credit
       Veteran’s Benefits               350 Motor Vehicle              370 Other Fraud                  Act                                862 Black Lung (923)               490 Cable/Sat TV
   160 Stockholders’ Suits              355 Motor Vehicle              371 Truth in Lending        720 Labor/Management                    863 DIWC/DIWW (405(g))             850 Securities/Commodities/
   190 Other Contract                       Product Liability          380 Other Personal               Relations                          864 SSID Title XVI                     Exchange
   195 Contract Product Liability       360 Other Personal                 Property Damage         740 Railway Labor Act                   865 RSI (405(g))                   890 Other Statutory Actions
   196 Franchise                            Injury                     385 Property Damage         751 Family and Medical                                                     891 Agricultural Acts
                                        362 Personal Injury -              Product Liability            Leave Act                                                             893 Environmental Matters
                                            Medical Malpractice                                    790 Other Labor Litigation                                                 895 Freedom of Information
       REAL PROPERTY                      CIVIL RIGHTS               PRISONER PETITIONS            791 Employee Retirement                 FEDERAL TAX SUITS                      Act
   210 Land Condemnation                440 Other Civil Rights         510 Motions to Vacate           Income Security Act                 870 Taxes (U.S. Plaintiff          896 Arbitration
   220 Foreclosure                      441 Voting                         Sentence                                                             or Defendant)                 899 Administrative Procedure
   230 Rent Lease & Ejectment           442 Employment                 Habeas Corpus:                                                      871 IRS—Third Party                    Act/Review or Appeal of
   240 Torts to Land                    443 Housing/                   530 General                                                              26 USC 7609                       Agency Decision
   245 Tort Product Liability               Accommodations             535 Death Penalty                                                                                      950 Constitutionality of
   290 All Other Real Property          445 Amer. w/Disabilities       540 Mandamus & Other             IMMIGRATION                                                               State Statutes
                                            Employment                 550 Civil Rights            462 Naturalization Application
                                        446 Amer. w/Disabilities       555 Prison Condition        463 Habeas Corpus -
                                            Other                      560 Civil Detainee -            Alien Detainee
                                        448 Education                      Conditions of               (Prisoner Petition)
                                                                           Confinement             465 Other Immigration
                                                                                                       Actions

V. ORIGIN (Place an “X” in One Box Only)
                                                                                                                               Transferred from
■      1 Original          2 Removed from                3 Remanded from                    4   Reinstated or              5
                                                                                                                               Another District
                                                                                                                                                            6 Multidistrict
         Proceeding          State Court                   Appellate Court                      Reopened                       (specify)                      Litigation
VI. CAUSE OF ACTION (Enter U.S. Civil Statute under which you are                            VII. Previous Bankruptcy Matters (For nature of suit 422 and 423, enter the case
filing and write a brief statement of cause.)                                                number and judge for any associated bankruptcy matter previously adjudicated by a judge of
                                                                                             this Court. Use a separate attachment if necessary.)

VIII. REQUESTED IN                                   CHECK IF THIS IS A CLASS ACTION                     DEMAND $                                 CHECK YES only if demanded in complaint:
     COMPLAINT:                                      UNDER RULE 23, F.R.Cv.P.
                                                                                                                                               JURY DEMAND:                               Yes   ■    No
IX. RELATED CASE(S)                           (See instructions):

     IF ANY                                                             JUDGE                                                    DOCKET NUMBER

X. This case (check one box)      ■    Is not a refiling of a previously dismissed action              is a refiling of case number                   previously dismissed by Judge
DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD
                         Case: 1:18-cv-07014 Document #: 2 Filed: 10/18/18 Page 2 of 2 PageID #:20
                                    INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                       Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required by law,
except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of
Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed. The attorney
filing a case should complete the form as follows:

I.        (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use only the
full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official, giving both
name and title.

            (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the time of
filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation cases, the
county of residence of the "defendant" is the location of the tract of land involved.)

           (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting in this
section "(see attachment)".

II.         Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X" in one of
the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.

United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the Constitution,
an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and box 1 or 2 should be
marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the citizenship of the
different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity cases.)

III.       Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this section
for each principal party.

IV.         Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is sufficient
to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than one nature of suit, select the
most definitive.

V.         Origin. Place an "X" in one of the six boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition for
removal is granted, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.

Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict litigation
transfers.

Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this box is
checked, do not check (5) above.

VI.       Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional statutes
unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.      Previous Bankruptcy Matters For nature of suit 422 and 423 enter the case number and judge for any associated bankruptcy matter previously adjudicated
by a judge of this court. Use a separate attachment if necessary.

VIII.      Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P. Demand. In this space enter the
actual dollar amount being demanded or indicate other demand, such as a preliminary injunction Jury Demand. Check the appropriate box to indicate whether or not a
jury is being demanded.

 IX.      Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket numbers and the
corresponding judge names for such cases.

X.        Refiling Information. Place an "X" in one of the two boxes indicating if the case is or is not a refilling of a previously dismissed action. If it is a refiling of a
previously dismissed action, insert the case number and judge.

           Date and Attorney Signature. Date and sign the civil cover sheet.
